                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                            )
                                                     )      Case No. 1:13-cr-89
      vs.                                            )
                                                     )      JUDGE MATTICE
 RODNEY HARRIS                                       )



                                MEMORANDUM AND ORDER

        RODNEY HARRIS (“Defendant”) appeared for an initial appearance before the
 undersigned on January 13, 2016, in accordance with Rule 32.1 of the Federal Rules of Criminal
 Procedure on the Petition for Warrant for Offender Under Supervision (“Petition”).

         After being sworn in due form of law, the Defendant was informed or reminded of his
 privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

         The Court determined that Defendant wished to be represented by an attorney and that he
 qualified for the appointment of an attorney to represent him at government expense.
 Consequently, the Court APPOINTED Federal Defender Services of Eastern Tennessee, Inc. to
 represent Defendant. Defendant was furnished with a copy of the Petition and the Warrant for
 Arrest, and had an opportunity to review those documents with his attorney. The Court
 determined that Defendant was capable of being able to read and understand the documents.

        The Defendant waived his right to a preliminary hearing and detention hearing.

         The Government moved Defendant be detained pending a hearing to determine whether
 his term of supervision should be revoked.

                                             Findings

        (1) Based upon the Petition and Defendant=s waiver of preliminary hearing and
            detention hearing, the undersigned finds there is probable cause to believe the
            Defendant has committed violations of his conditions of supervised release as
            alleged in the Petition.




                                                1



Case 1:13-cr-00089-TRM-CHS          Document 869 Filed 01/15/16            Page 1 of 2        PageID
                                         #: 13760
                                       Conclusions

       It is ORDERED:

       (1) The Defendant shall appear in a revocation hearing before U.S. District
       Judge Harry S. Mattice, Jr.

       (2) The motion of the Government that Defendant be DETAINED WITHOUT
       BAIL pending his revocation hearing before Judge Mattice is GRANTED.

       (3) The U.S. Marshal shall transport Defendant to a revocation hearing before
       Judge Mattice on Monday, February 1, 2016, at 2:00 pm.

       ENTER.

                                         s/Christopher H. Steger
                                         UNITED STATES MAGISTRATE JUDGE




                                            2



Case 1:13-cr-00089-TRM-CHS       Document 869 Filed 01/15/16         Page 2 of 2       PageID
                                      #: 13761
